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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

DIWANN MATHIS,

              Movant/Defendant,                    Civ. Act. No. 13-2007-LPS
                                                   Cr. Act. No. 11-71-LPS-1
              v.                                   Civ. Act. No. 13-2008-LPS
                                                   Cr. Act. No. 12-18-LPS

UNITED STATES OF AMERICA,

              Respondent/Plaintiff.



Diwann Mathis. Prose Movant.


Shannon Thee Hanson, Assistant United States Attorney, United States Department of Justice,
Wilmington, Delaware. Attorney for Respondent.




                                MEMORANDUM OPINION




March 27, 2017
Wilmington, Delaware
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STARK, U.S. District Judge:

I.     INTRODUCTION

       Diwann Mathis ("Movant") filed a Motion to Vacate, Set Aside, or Correct Sentence,

pursuant to 28 U.S.C. § 2255. (D.I. 99 in Crim. Act. No. 11-71-LPS-1; D.I. 17 in Crim. Act. No. 12-

18-LPS) The United States ("Government") filed an Answer in Opposition. (D.I. 112 in Crim. Act.

No. 11-71-LPS) For the reasons discussed, the Court will deny Movant's § 2255 Motion without

holding an evidentiary hearing.

II.    BACKGROUND

        On April 3, 2012, Movant pled guilty to: (1) four counts of the Indictment in Crim Act. No.

11-71-LPS, charging him with conspiracy to commit bank fraud, bank fraud, social security fraud,

and aggravated identity theft; and (2) three counts of the Felony Information in Crim. Act. No. 12-

18-LPS, charging him with conspiracy to defraud the Government with respect to claims, identity

theft, and misuse of a social security number. (D .I. 55 in Crim. Act. No. 11-71-LPS-1; D .I. 3 in

Crim. Act. No. 12-18-LPS) On August 2, 2012, the Court sentenced Movant to a total of fifty-one

months of imprisonment. (D.I. 76 in Crim. Act. No. 11-71-LPS-1; D.I. 7 in Crim. Act. No. 12-18-

LPS) Movant appealed, and the Third Circuit Court of Appeals summarily affirmed his convictions

due to his appellate waiver. (D.I. 96 in Crim. Act. No. 11-71-LPS-1; D.I. 16 in Crim. Act. 12-18-

LPS)

       Movant timely filed a prose Motion to Vacate, Set Aside, or Correct Sentence Pursuant To 28

U.S.C. § 2255. (D.I. 99 in Crim. Act. No. 11-71-LPS-1; D.I. 17 in Crim. Act. No. 12-18-LPS) The

Government filed a Reply in Opposition. (D.I. 112 in Crim. Act. No. 11-71-LPS-1) Movant also

filed a Motion to Consolidate his § 2255 proceeding with his co-defendant wife's (Marketa Wright's)

§ 2255 proceeding. (D.I. 94 in Crim. Act. No. 11-71-2-LPS-1; D.I. 14 in Crim. Act. No. 12-18-LPS)
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Ill.      MOTION TO CONSOLIDATE

          In his Motion to Consolidate, Movant seeks to consolidate his § 2255 proceeding with

Wright's § 2255 Motion1 because he and Wright are seeking to vacate their judgments in Crim. Act.

No. 11-71-LPS on the same ground, and they are seeking identical relief. (D.I. 94 in Crim. Act. No.

11-71-2-LPS-1) After reviewing Movant's § 2255 Motion, Wright's§ 2255 Motion, and the

Government's Answer in Opposition, the Court concludes that consolidating Movant's § 2255

Motion with Wright's§ 2255 Motion would be inappropriate. As explained below, the Court

concludes that Movant's § 2255 Motion is meritless. In contrast, however, according to the

Government's Response in Wright's § 2255 proceeding, Wright's § 2255 Motion is time-barred. 2

Accordingly, the Court will deny the Motion to Consolidate.

IV.        DISCUSSION

            In the instant Motion, Movant asserts that defense counsel provided ineffective assistance

by: (1) failing to object to the enhancement for there being 50 or more victims; and (2) failing to

object to the computation of his criminal history score at sentencing. The Government contends

that these Claims should be denied as meritless.

          Movant has properly raised his ineffective assistance of counsel allegations in a § 2255

motion. See Massaro v. United States, 538 U.S. 500 (2003). Although Paragraph 9 of Movant's Plea

Agreement contains the following waiver of Movant's right to file a direct appeal and/ or a collateral

attack on his conviction and sentence, the waiver expressly exempts ineffective assistance of counsel

claims:



1
 Marketa Wright's§ 2255 Motion is D.I. 99 in Crim. Act. No. 11-71-LPS-2.

2
    (D.I. 110 in Crim. Act. No. 11-71-LPS-2)
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                 The defendant knows that he has, and voluntarily and expressly agrees
                 to waive, the right to file any appeal, any collateral attack, or any other
                 writ or motion in this criminal case after sentencing -- including but
                 not limited to, an appeal under Title 18, United States Code, Section
                 3742 or Title 28, United States Code Section 1291 or a motion under
                 Title 28, United States Code Section 2255 -- except that the
                 Defendant reserves his right to appeal based on a claim that: (1)
                 Defendant's sentence exceeded the statutory maximum; (2) that the
                 sentencing judge erroneously departed upwards from the Guideline
                 range; or (3) that his counsel was constitutionally ineffective.

 (D.I. 55 at~ 16 in Crim. Act. No. 11-71-LPS-1; D.I. 3 in Crim. Act. No. 12-18-LPS) (emphasis

 added) Therefore, the Court can consider the Claims asserted in the instant Motion. See United

 States v. Phillips, 396 F. App'x 831, 835 n.4 (3d .Cir. 2010) (noting that appellant could pursue

 ineffective assistance of counsel claim in collateral proceeding because appellate waiver expressly

 exempted ineffective assistance claims).

         As a general rule, ineffective assistance of counsel claims are reviewed pursuant to the two-

 pronged standard established in Strickland v. Washington, 466 U.S. 668 (1984). Under the first

 Strickland prong, Movant must demonstrate that "counsel's representation fell below an objective

 standard of reasonableness," with reasonableness being judged under professional norms prevailing

 at the time counsel rendered assistance. Sttfrk!and, 466 U.S. at 688. Under the second Stn"ck!and

 prong, Movant must demonstrate a reasonable probability that, but for counsel's error, the outcome

 of the proceeding would have been different. Id. at 694; United States v. Nahodi!, 36 F.3d 323, 326 (3d

 Cir. 1994). In the context of a guilty plea, a movant satisfies Strick/ands prejudice prong by

 demonstrating that, but for counsel's error, there is a reasonable probability that he would have

 insisted on proceeding to trial instead of pleading guilty. See Hill v. Lockharl, 474 U.S. 52, 58 (1985).

 Moreover, "[w]here defense counsel fails to object to an improper enhancement under the

 Sentencing Guidelines, counsel has rendered ineffective assistance." Jansen v. United States, 369 F.3d
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 237, 244 (3d Cir. 2003). A court can choose to address the prejudice prong before the deficient

 performance prong, and reject an ineffectiveness claim solely on the ground that the defendant was

 not prejudiced. Strickland, 466 U.S. at 668. Finally, although not insurmountable, the Strickland

 standard is highly demanding and leads to a strong presumption that counsel's representation was

 professionally reasonable. Id. at 689.

         A. Claim One: Defense Counsel Failed to Challenge Sentence Enhancement

         In Claim One, Movant contends that defense counsel provided ineffective assistance by

 failing to challenge the sentencing enhancement for fifty or more victims of the crime. Movant

 appears to assert that the enhancement was improperly applied because the victims were not human

 beings but, rather, a total of five financial institutions or governmental entities. (D.I. 100 at 2-7 in

 Crim. Act. No. 1-1-71-LPS-1) This argument is unavailing. During sentencing, the Court explained

 that Movant's offenses included the misappropriation and use of thirty-two social security numbers

 (D.I. 82 at 35 in Crim. Act. No. 11-71-LPS-1) and the filing of fifty-three false tax returns (D.I. 82 at

 36 in Crim. Act. No. 11-71-LPS-1). The Court explained,

                 [t]hese fraudulent schemes also had a financial impact, resulting in
                 losses in excess of $200,000, and at least as importantly helped impair
                 if not destroy credit ratings of numerous individuals. Indeed, the
                 Probation Office heard from many of them whose credit ratings were
                 impaired and who have suffered in all sorts of ways as a result of their
                 identities and identifying information being stolen. The sentencing
                 guidelines reflect that there are more than 50 victims altogether.

 (D.I. 82 at 36 in Crim. Act. No. 11-71-LPS-1) Additionally, during the plea colloquy, Movant agreed

 to the factual basis for his guilty plea, which detailed the number of victims. (D.I. 112-2 at 39-33 in

 Crim. Act. No. 11-71-LPS-1)




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         Finally, Movant's co-defendant Wright challenged the fifty or more victims enhancement at

 her sentencing, which the Court rejected. (See D.I. 109 at 10 in Crim. Act. No. 11-71-LPS-2)

 Specifically, the Court explained:

                 The Government has established by a preponderance of the evidence
                 that there were at least 50 victims involved as between the two schemes
                 that the defendant [Wright] pled guilty to participating in. "Victim,"
                 of course, is defined as "an individual or institution that suffered
                 pecuniary harm as well as any person whose identity is used
                 unlawfully."

                 Here, the record reflects that more than 50 fraudulent tax returns were
                 prepared and filed, plus an additional of at least 32 identity thefts, plus
                 at least three financial institutions that suffered harm.

                 In the Court's view, all of those count as victims, particularly with
                 reference to Guideline 2B1.1, Application Note 4E, which was
                 intended to overrule the authority that the defendant [Wright] bases
                 her objection on. Specifically, the [United States v.] Kennecfy, [554 F.3d
                 415 (3d Cir. 2009)] decision.

                 Further, it is also, in the Court's view, true that if this enhancement
                 were to be eliminated from the calculation, the Court would then have
                 to apply the vulnerable victim enhancement for the defendant's
                 [Wright's] use of the Social Security number of her son, so the Court
                 would have to add back two points. Unless there were a lack of
                 evidence that at least 10 victims were involved, and the Court only
                 understands that defendant's [Wright's] objection to be that there are
                 not 50 victims involved, then had she been granted the two points off
                 that she seeks by this objection, the Court would have to add back the
                 two points for the vulnerable victim, and we would end up exactly
                 where we were. So again the objection under 2B1.1 (b)(2) is overruled.

 (D.I. 109 at 10-11 in Crim. Act. No. 11-71-LPS-2) Given these circumstances, the Court concludes

 that defense counsel did not perform deficiently by failing to raise a sentencing challenge that was

 subsequently determined to lack merit.

         Movant also cannot demonstrate a reasonable probability that he would have received a

 different sentence but for defense counsel's failure to raise a baseless objection to the enhancement.
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As the Court explained during Wright's sentencing, the vulnerable victim enhancement was

applicable because one of the victims was Movant's son. Application of this enhancement would

 have resulted in the addition of two points, thereby leading to the same result reached with

 application of the enhancement for 50 or more victims. Accordingly, the Court will deny Claim

 One as meritless.

         B. Claim Two: Defense Counsel Failed to
            Object to Criminal History Score Computation

         In Claim Two, Movant asserts that defense counsel should have objected to his criminal

 history score as being inaccurately calculated. Specifically, he argues that he should not have

 received one criminal history point for his 1999 misdemeanor conviction for offensive touching,

 because he did not receive a sentence over thirty days of imprisonment or over one year of

 probation.

         The Court rejects Movant's assertion. According to the Sentencing Guidelines, sentences

 for misdemeanor offenses are counted toward a defendant's criminal history score. However,

 certain enumerated offenses and offenses similar to those enumerated offenses are counted only if

 "(A) the sentence was a term of probation of more than one year or a term of imprisonment of at

least thirty days, or (B) the prior offense was similar to the instant offense." U.S.S.G. § 4A1.2(c)(1)

 Since "offensive touching" or an offense similar to "offensive touching" is not included in the

 aforementioned list of excluded enumerated offenses, and U.S.S.G. § 4A1.1 (c) provides that a

 defendant accumulates one criminal history point for each prior sentence not counted in either

 U.S.S.G. § 4A1.1 (a) or (b), Movant was properly assessed one criminal history point for his 1999

 offensive touching conviction. In sum, defense counsel did not provide ineffective assistance by

 failing to assert a meritless objection.
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        Movant also contends that defense counsel should have challenged the two criminal history

points assessed for his trafficking cocaine conviction. He argues that he was improperly assessed

the two criminal history points because he did not receive over sixty days of imprisonment.

        Movant was sentenced to Delaware's Boot Camp Program, and two and one-half years of

Level 3 probation for trafficking cocaine. (D.I. 100 at 8 in Crim. Act. No. 11-71-LPS-1) Movant

appears to base the instant argument on his belief that the Boot Camp Program to which he was

sentenced constitutes an addiction education program under Delaware law, and not imprisonment.

Id. He is mistaken. The period of time Movant served in the Boot Camp Program is not an

excludable diversionary disposition but, rather, constitutes a sentence, because it was the result of a

finding of guilt in a judicial proceeding. See U.S.S.G. § 4A1.1(f). Movant was in custody for the

trafficking cocaine conviction for more than six months, namely, from March 19, 2001 until

October 2, 2001. (D.I. 112 at 5; see also U.S.S.G. § 4A1.2(b)(1) (explaining "sentence of

imprisonment" means sentence of incarceration) Therefore, defense counsel did not provide

ineffective assistance by failing to raise another meritless objection.

        For the reasons set forth above, the Court will deny Claim Two as meritless.

IV.     EVIDENTIARY HEARING

        Section 2255 requires a district court to hold a prompt evidentiary hearing unless the

"motion and the files and records of the case conclusively show" that the Movant is not entitled to

relief. 28 U.S.C. § 2255; see also United States v. Booth, 432 F.3d 542, 545-46 (3d Cir. 2005); United

States v. McCqy, 410 F.3d 124, 131 (3d Cir. 2005); Fed. R. Civ. P. 8(a), 28 U.S.C. foll.§ 2255. As

previously explained, the record conclusively demonstrates that Movant is not entitled to relief.

Therefore, the Court will deny Movant's § 2255 Motion without an evidentiaty' hearing.

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V.      CERTIFICATE OF APPEALABILITY

        A district court issuing a final order denying a § 2255 motion must also decide whether to

issue a certificate of appealability. See 3d Cir. L.A.R. 22.2 (2011). A certificate of appealability is

appropriate only if the movant "has made a substantial showing of the denial of a constitutional

right." 28 U.S.C. § 2253(c)(2). The movant must "demonstrate that reasonable jurists would find

the district court's assessment of the constitutional claims debatable or wrong." Slack v. McDaniel,

529 U.S. 473, 484 (2000).

        The Court concludes that Movant's Claims lack merit, and is persuaded that reasonable

jurists would not find this assessment debatable. Therefore, the Court will not issue a certificate of

appealability.


VI.     CONCLUSION

        For all of the foregoing reasons, the Court will dismiss Movant's 28 U.S.C. § 2255 Motion to

Vacate, Set Aside, or Correct Sentence without an evidentiary hearing. Additionally, the Court will

not issue a certificate of appealability. The Court shall issue an appropriate Order.




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